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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

SUZANNE COWAN                                  §
     Plaintiff,                                §
                                               §
vs.                                            §    CIVIL ACTION NO. 4:17-cv-437
                                               §
SENTRY INSURANCE A MUTUAL                      §
COMPANY                                        §
     Defendant.                                §

            SUPPLEMENTAL CIVIL COVER SHEET FOR A REMOVED CASE

1.      STYLE OF CASE:

PARTY AND PARTY TYPE                                ATTORNEY(S)
Suzanne Cowan,                                      Mr. Preston J. Dugas III
      Plaintiff                                     State Bar No. 24050189
                                                    309 W. 7th Street, Suite 1100
                                                    Fort Worth, Texas 76102
                                                    (817) 945-3061
                                                    (682) 219-0761 (FAX)
                                                    E-Mail: preston@pjdlawfirm.com

Sentry Insurance A Mutual Company,                  Mr. Russell J. Bowman
        Defendant                                   State Bar No. 02751550
                                                    800 West Airport Freeway, Suite 860
                                                    Irving, Texas 75062
                                                    (214) 922-0150
                                                    (214) 922-0225 (FAX)
                                                    E-Mail: russelljbowman@sbcglobal.net


2.      JURY DEMAND

        Was Jury Demand made?

        Yes.

3.      UNSERVED PARTIES

        The following parties have not been served at the time this case was removed: None.

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4.      NONSUITED, DISMISSED OR TERMINATED PARTIES:

                     PARTY                                               REASON
                      None                                                 N/A


5.      CLAIMS OF THE PARTIES:

         The filing party submits the following summary of the remaining claims of each party in this
litigation:

                     PARTY                                               CLAIM(S)

Plaintiff, Suzanne Cowan                               Plaintiff seeks recovery on an insurance policy
                                                       for alleged damage to Plaintiff’s property from
                                                       a hail storm. Plaintiff seeks contract damages,
                                                       extra-contractual damages and attorney’s fees
                                                       from Defendant.



Defendant, Sentry Insurance A Mutual                   Defendant contends that it has no liability for
Company                                                Plaintiff’s claims involved in this lawsuit, as
                                                       Plaintiff was fully indemnified under the
                                                       policy, that no further indemnification is owed
                                                       at this time under the insurance contract, that
                                                       Plaintiff’s lawsuit is premature until Plaintiff
                                                       has submitted to an examination under oath
                                                       and appraisal under the insurance contract has
                                                       been conducted, and that Defendant has no
                                                       extra-contractual liability to Plaintiff.


                                          CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument was served upon the
following, as indicated below, on this the 29th day of May, 2017:

Mr. Preston J. Dugas III                               VIA E-MAIL: preston@pjdlawfirm.com
Preston Dugas Law Firm, PLLC
309 W. 7th Street, Suite 1100
Fort Worth, Texas 76102


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                                          /S/Russell J. Bowman
                                          Russell J. Bowman




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